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14
                               UNITED STATES DISTRICT COURT
15
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
      UNITED STATES OF AMERICA,                No. SA CR 19-061-JVS
17
                 Plaintiff,                    WRIT OF HABEAS CORPUS AD
18                                             PROSEQUENDUM
                       v.
19
      MICHAEL JOHN AVENATTI,
20
                 Defendant.
21

22
                     THE PRESIDENT OF THE UNITED STATES OF AMERICA
23
      TO:   The Warden, Sheriff or Jailor of the Federal Correctional
24
      Institution at Terminal Island, 1299 Seaside Avenue, San Pedro,
25
      California, 90731, and to any United States Marshal.
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 1                                        GREETING

 2           WE COMMAND that you produce and deliver the body of defendant

 3    Michael John Avenatti (“defendant”), who is now in your custody,

 4    before the Honorable James V. Selna, United States District Judge,

 5    Ronald Reagan Federal Building, Courtroom 10C, 411 West Fourth

 6    Street, Santa Ana, California, 92701, on June 16, 2022, at 10:00

 7    a.m., in order that defendant may then and there appear for his

 8    prosecution at said time and place, and also at such other times as

 9    may be ordered by the Court.

10           The delivery of the body of defendant to the courtroom of the

11    aforementioned United States District Court and the return by you of

12    defendant to your custody shall be deemed sufficient compliance with

13    this writ.

14

15    DATE
             ________________________________________________
16                                               CLERK
                                                 UNITED STATES DISTRICT COURT
17                                               CENTRAL DISTRICT OF CALIFORNIA

18

19                                              BY:
      ____________________________________________
20                                                    DEPUTY CLERK

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